Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 1 of 43




                                       2:24-cv-3885
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 2 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 3 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 4 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 5 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 6 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 7 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 8 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 9 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 10 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 11 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 12 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 13 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 14 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 15 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 16 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 17 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 18 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 19 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 20 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 21 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 22 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 23 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 24 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 25 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 26 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 27 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 28 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 29 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 30 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 31 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 32 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 33 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 34 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 35 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 36 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 37 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 38 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 39 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 40 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 41 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 42 of 43
Case 2:24-cv-03885-HB Document 1 Filed 08/06/24 Page 43 of 43
